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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW HAMPSHIRE

UNITED STATES OF AMERICA                         )
                                                 )
                v.                               )
                                                 )           No. 1:21-cr -41-JL-01/06
Ian Freeman (formerly Ian Bernard)               )
Colleen Fordham                                  )
Renee Spinella (formerly Renee LeBlanc)          )
Andrew Spinella                                  )
Nobody (formerly Richard Paul)                   )
Aria DiMezzo (formerly James Baker)              )

                                         INDICTMENT

The Grand Jury charges:

       1.       From at least on or about 2016 to the present, IAN FREEMAN, COLLEEN

FORDHAM, RENEE SPINELLA, ANDREW SPINELLA, NOBODY, ARIA DIMEZZO, and

others have operated a business that enabled customers to exchange fiat currency for virtual

currency, charging a fee for their service. In total, between approximately May 25, 2016, and

March 15, 2021, the defendants exchanged in excess of $10,000,000 for virtual currency on

behalf of customers throughout the United States including in the District of New Hampshire.

       2.       At all times relevant to this Indictment, the defendants knowingly operated the

virtual currency exchange business in violation of federal anti-money laundering laws and

regulations, including those requiring money transmitting businesses to meet registration and

reporting requirements set forth in Title 18, United States Code, Section 1960, and in regulations

promulgated by the United States Department of the Treasury.

       3.       In furtherance of the unlawful scheme, IAN FREEMAN, COLLEEN

FORDHAM, RENEE SPINELLA, ANDREW SPINELLA, NOBODY, ARIA DIMEZZO, and

co-conspirators opened bank accounts at U.S. financial institutions, including in branches located

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in the District of New Hampshire, either as personal accounts, or in the names of purported

religious entities including but not limited to: the Shire Free Church, the Crypto Church of NH,

the Church of the Invisible Hand, and the Reformed Satanic Church. The co-conspirators

engaged in substantial efforts to evade detection of their unlawful virtual currency exchange

scheme by avoiding answering financial institutions’ questions about the nature of the business

and tricking financial institutions into believing that their unlawful virtual currency exchange

business was instead a religious organization receiving charitable contributions.

       4.       IAN FREEMAN, RENEE SPINELLA, COLLEEN FORDHAM, and other co-

conspirators knowingly and falsely represented to these financial institutions that the accounts

were used to receive church donations and conduct church outreach when in truth and in fact, the

accounts were opened to function, and did in fact function, as operating accounts for their

unlawful virtual currency exchange business. In furtherance of their unlawful scheme, IAN

FREEMAN and others knowingly instructed virtual currency customers to lie to financial

institutions about the virtual currency transactions that customers were executing. Specifically,

they instructed customers to conceal from financial institutions the fact that the customers were

purchasing virtual currency, and in certain cases, to state falsely that payments were church

donations or for the purpose of purchasing rare coins.

       5.       IAN FREEMAN and others operated their unlawful virtual currency exchange

business through two primary means. First, they advertised virtual currency for sale online

through websites including LocalBitcoins.com. Second, they operated virtual currency

automated teller machines, or kiosks, located in the District of New Hampshire.

       6.       As part of the unlawful scheme, IAN FREEMAN, and his co-conspirators

knowingly processed and profited from numerous virtual currency transactions.



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                                        COUNT ONE
               [Conspiracy to Operate Unlicensed Money Transmitting Business]
                           [18 U.S.C. §§ 371, 1960(a) and (b)(1)(B)]

        7.       The allegations of paragraphs 1 through 6 of this Indictment are re-alleged and

incorporated as if set forth in full herein.

        8.       From at least in and around January 2016, to March 15, 2021, in the District of

New Hampshire, and elsewhere, IAN FREEMAN, COLLEEN FORDHAM, RENEE

SPINELLA, ANDREW SPINELLA, NOBODY, ARIA DIMEZZO, and others known and

unknown, unlawfully, willfully and knowingly, did combine, conspire, confederate and agree

with each other to operate an unlicensed money transmitting business, in violation of Title 18,

United States Code, Section 1960.

        9.       It was a part and object of the conspiracy that IAN FREEMAN, COLLEEN

FORDHAM, RENEE SPINELLA, ANDREW SPINELLA, NOBODY, ARIA DIMEZZO, and

others known and unknown, knowingly conducted, controlled, managed, supervised, directed,

and owned an unlicensed money transmitting business affecting interstate and foreign commerce,

namely a virtual currency exchange business, that involved the transportation or transmission of

funds which failed to comply with the money transmitting business registration requirements set

forth in Title 31, United States Code Section 5330, and the regulations prescribed thereunder.

        10.      All in violation of Title 18 United States Code Sections 371, 1960(a), and

1960(b)(1)(B).

                                               Overt Acts

        11.      In furtherance of the conspiracy and to affect the illegal object thereof, at least

one of the following overt acts, among others, was committed in the District of New Hampshire

and elsewhere:


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                a. Between on or about May 2016 and March 15, 2021, from the District of New

                    Hampshire, IAN FREEMAN, COLLEEN FORDHAM, RENEE SPINELLA,

                    ANDREW SPINELLA, NOBODY, and ARIA DIMEZZO opened and

                    operated accounts at financial institutions, including those listed in Counts 5

                    through 18, as personal accounts or in the names of religious organizations

                    with the purpose to use them to sell virtual currency.

                b. Between on or about May 2016 and March 15, 2021, IAN FREEMAN,

                    COLLEEN FORDHAM, RENEE SPINELLA, and others instructed virtual

                    currency customers to describe deposits into their accounts as “church

                    donations” in an effort to avoid detection of their scheme by financial

                    institutions.

                                        COUNT TWO
                    [Operation of Unlicensed Money Transmitting Business]
                         [18 U.S.C. §§ 1960(a) and (b)(1)(B) and (C)]

        12.     The allegations of paragraphs 1 through 6 of this Indictment are re-alleged and

incorporated as if set forth in full herein.

        13.     Beginning on or about an unknown date, but at least by 2016, and continuing until

at least on or about March 15, 2021, in the District of New Hampshire and elsewhere, the

defendant, IAN FREEMAN, knowingly conducted, controlled, managed, supervised, directed,

and owned an unlicensed money transmitting business affecting interstate and foreign commerce,

namely a virtual currency exchange business, that (i) involved the transportation or transmission

of funds which failed to comply with the money transmitting business registration requirements

set forth in Title 31, United States Code Section 5330, and the regulations prescribed thereunder

and (ii) otherwise involved the transportation and transmission of funds known to IAN


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FREEMAN to have been derived from a criminal offense and intended to be used to promote and

support unlawful activity.

        14.     All in violation of Title 18 United States Code Sections 1960(a) and (b)(1)(B) and

(C).

                                       COUNT THREE
                    [Operation of Unlicensed Money Transmitting Business]
                              [18 U.S.C. §§ 1960(a) and (b)(1)(B)]

        15.     Beginning on or about an unknown date, but at least by June 2020, and continuing

until at least on or about March 15, 2021, in the District of New Hampshire and elsewhere, the

defendant, ARIA DIMEZZO, knowingly conducted, controlled, managed, supervised, directed,

and owned an unlicensed money transmitting business affecting interstate and foreign commerce,

namely a virtual currency exchange business, that involved the transportation or transmission of

funds which failed to comply with the money transmitting business registration requirements set

forth in Title 31, United States Code Section 5330, and the regulations prescribed thereunder.

        16.     All in violation of Title 18 United States Code Sections 1960(a) and (b)(1)(B).

                                         COUNT FOUR
                               [Conspiracy to Commit Wire Fraud]
                                    [18 U.S.C. §§ 1343, 1349]

        17.     The allegations of paragraphs 1 through 6 of this Indictment are re-alleged and

incorporated as if set forth in full herein.

        18.     Beginning on or about an unknown date, but at least by 2016, and continuing until

at least on or about March 15, 2021, in the District of New Hampshire and elsewhere, IAN

FREEMAN, COLLEEN FORDHAM, RENEE SPINELLA, ANDREW SPINELLA, and

NOBODY, willfully and knowingly, combined, conspired, confederated and agreed together and

with each other to violate Title 18, United States Code, Section 1343.

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        19.     It was part and an object of the conspiracy that the defendants and others known

and unknown, willfully, and knowingly, having devised and intending to devise a scheme and

artifice to defraud and for obtaining money and property by means of false and fraudulent

pretenses, representations and promises, would and did transmit and cause to be transmitted by

means of wire, radio, and television communication in interstate and foreign commerce, writings,

signs, signals, pictures, and sounds for the purpose of executing such scheme and artifice to

defraud. IAN FREEMAN, COLLEEN FORDHAM, RENEE SPINELLA, ANDREW

SPINELLA, NOBODY, and others made, and caused others to make, material

misrepresentations to financial institutions in order to deceive those financial institutions into

allowing the defendants to open and operate accounts used to process financial transactions and

in so doing, caused wires to be transmitted to and from the District of New Hampshire.

        20.     All in violation of Title 18, United States Code, Sections 1343 and 1349.

                           COUNTS FIVE THROUGH EIGHTEEN
                                          [Wire Fraud]
                                        [18 U.S.C. § 1343]
        21.     The allegations of paragraphs 1 through 6 of this Indictment are re-alleged and

incorporated as if set forth in full herein.

        22.     On or about the below listed dates, in the District of New Hampshire and

elsewhere, the defendants, devised and intended to devise a scheme to defraud the financial

institutions listed below, and to obtain money and property by means of materially false and

fraudulent pretenses, representations and promises. For the purpose of executing the scheme to

defraud, the defendants caused to be transmitted by means of wire communication in interstate

commerce, the signals and sounds described below:




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 COUNT         WIRE COMMUNICATION               DEFENDANT FINANCIAL              ACCOUNT
                                                               INSTITUTION
 5             4/13/17 Telephone Call           Ian Freeman    Service Credit    6792
                                                               Union
 6             10/15/2019 Telephone Call        Ian Freeman    Cheshire          1004
                                                               County Federal
                                                               Credit Union/
                                                               GFA Federal
                                                               Credit Union
 7             1/12/17 Wire Transfer            Ian Freeman    Wells Fargo       7792
 8             10/12/17 Email                   Renee Spinella Wells Fargo       3193
 9             4/2/18 Wire Transfer             Andrew         Wells Fargo       8055
                                                Spinella
 10            5/18/18 Wire Transfer            Ian Freeman    Service Credit    9598
                                                & Renee        Union
                                                Spinella
 11            9/24/2019 Telephone Call         Colleen        TD Bank           2980
                                                Fordham
 12            11/9/18 Email                    Colleen        Service Credit    0019
                                                Fordham        Union
 13            12/18/18 Email                   Colleen        GFA Federal       7902
                                                Fordham        Credit Union
 14            10/22/19 Email                   Ian Freeman    First Tech        8014
                                                               Federal Credit
                                                               Union
 15            3/25/20 Email                    Ian Freeman    Service Credit    4962
                                                               Union
 16            10/4/19 Wire Transfer            Nobody         TD Bank           3215
 17            3/18/20 Wire Transfer            Nobody         JP Morgan         9038
                                                               Chase
 18            4/27/20 Wire Transfer            Nobody         Bank of           9633
                                                               America


       23.    All in violation of Title 18 United States Code Section 1343.

                                  COUNT NINETEEN
                        [Continuing Financial Crimes Enterprise]
                                    [18 U.S.C. § 225]
       24.    From an unknown date but no later than May 25, 2016, and ending on or about

March 15, 2021, in the District of New Hampshire and elsewhere, the defendant, IAN

FREEMAN, knowingly conducted a continuing financial crimes enterprise, in that the defendant



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committed a series of violations of Title 18, United States Code, Section 1343 that affected a

financial institution, including as alleged in Counts 4 through 18 of this Indictment, which are

incorporated by reference, which violations were undertaken by the defendant in concert with at

least three other persons whom the defendant organized, managed and supervised, and from

which continuing series of violations the defendant received over $5,000,000 and more in gross

receipts from on or about September 1, 2018, ending on or about August 31, 2020.

       25.     All in violation of Title 18 United States Code Section 225.

                                    COUNT TWENTY
                        [Money Laundering – 18 U.S.C. § 1956(a)(3)(B)]

       26.     On or about August 25, 2020, in the District of New Hampshire and elsewhere,

the defendant, IAN FREEMAN, with the intent to conceal and disguise the nature, location,

source, ownership, and control of property believed to be the proceeds of specified unlawful

activity, that is, distribution of controlled substances in violation of Title 21, United States Code,

Section 841(a), knowingly conducted a financial transaction, affecting interstate commerce,

involving property represented by an authorized agent of the United States government to be

proceeds of specified unlawful activity, that is, distribution of controlled substances, namely the

exchange of $19,900 in United States dollars, for approximately 1.54 Bitcoin.

       27.     All in violation of Title 18 United States Code Sections 1956(a)(3)(B).




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                                  NOTICE OF FORFEITURE

       Pursuant to 18 U.S.C. §§ 981(a)(1)(C), 982(a)(1), and (2), and 28 U.S.C. § 2461(C), and

upon conviction of the offenses alleged in Counts One through Eighteen of this Indictment, the

defendants shall forfeit to the United States of America any property constituting, or derived

from, any proceeds obtained, directly or indirectly, as the result of such offenses. and any

property used, or intended to be used, in any manner or part, to commit, or to facilitate the

commission of, the charged offenses.

       Pursuant to 18 U.S.C.§ 982(a)(1), and upon conviction of the money laundering offense

charged in Count Twenty of this Indictment, defendant Ian Freeman shall forfeit to the United

States, all property, real or personal, involved in the money laundering offense, and all property

traceable to the offense.

       Pursuant to 21 U.S.C. § 853(p), the United States of America shall be entitled to

forfeiture of substitute property if any of the property described above, as a result of any act or

omission of the defendants: (a) cannot be located upon the exercise of due diligence; (b) has been

transferred or sold to, or deposited with, a third party; (c) has been placed beyond the jurisdiction

of the court; (d) has been substantially diminished in value; or (e) has been commingled with

other property which cannot be divided without difficulty.

Dated: March 15, 2021                                 A TRUE BILL

                                                      /s/ Foreperson
                                                      Grand Jury Foreperson

JOHN J. FARLEY
Acting United States Attorney

/s/ Georgiana L. MacDonald                            /s/ Seth R. Aframe
Georgiana L. MacDonald                                Seth R. Aframe
Assistant U.S. Attorney                               Assistant U.S. Attorney



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